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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

IVETTE M. MARTÍNEZ GONZÁLEZ, ET AL.,              CIVIL No. 16-2077 (GAG)

       Plaintiffs,

              v.

CATHOLIC SCHOOLS OF THE
ARCHDIOCESES OF SAN JUAN PENSION
PLAN, ET AL,

       Defendants.

 MOTION FOR EXTENSION OF TIME TO SUBMIT DISPOSITIVE MOTION
             AS TO THE CHURCH PLAN EXEMPTION

TO THE HONORABLE COURT:

       COMES NOW co-defendants Juan Santa (“Mr. Santa”) and Rosa Figueroa

(“Mrs. Figueroa”, together with Mr. Santa “Co-defendants”), through the undersigned

counsel, and very respectfully states and prays as follows:

       1.     On March 30, 2017, this Honorable Court entered an Order indicating that

the deadline to file dispositive motions as to the Church Plan Exemption was set for

November 20, 2017. See, Docket No. 113.

       2.     Notwithstanding Co-defendants’ best efforts to comply with the Court-

approved deadline, the intervening passage of Hurricanes Irma and María caused

damages to the undersigned’s offices, which in turn resulted in an interruption of the

Firm’s operations.

       3.      In addition, the deposition transcripts of Mr. Francis Oullette and Mrs.

Anabel P. Casey, which took place during the month of August, are still not available,

presumably also as a result of the aftermath of the hurricanes. As of this filing, Co-

defendants do not have an estimate of when the transcripts will be received. These
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deposition transcripts are highly relevant to Co-defendants’ dispositive motion.

Accordingly, it will not be possible to complete the same without first reviewing and

analyzing these two (2) transcripts.

        4.      Furthermore, due to the telecommunications glitches, the undersigned

have been impeded to communicate effectively with Co-defendants in order to fully

comply with court established milestones.

        5.      Therefore, Co-defendants request an extension of time of thirty (30) days,

until December 20, 2017, to file a dispositive motion as to the Church Plan Exemption in

this case.

        6.      Pursuant to Fed. R. Civ. P. 16(b)1, courts “may extend a scheduling order

deadline if the [deadline] cannot reasonably be met despite the diligence of the party

seeking the extension.” See O’Connell v. Hyatt Hotels of Puerto Rico, 357 F.3d 152, 154

(1st Cir. 2004); see also Advisory Committee Notes to Rule 16 (1983 amendments).

        7.      For the reasons stated above, Co-defendants respectfully submit that there

is good cause for an extension of the case management deadline to file dispositive

motions in this case.

        8.      The instant request is made in good faith and is not intended to unduly

delay the instant proceedings.

        WHEREFORE, the undersigned counsel respectfully requests the Clerk of

Court and all parties of record to take notice of the foregoing and that this Honorable

Court grants the extension of time of thirty (30) days, until December 20, 2017, for the




1In relevant part, Fed. R. Civ. P. 16(b)(4) provides that “[a] schedule may be modified only for good cause
and with the judge’s consent.”


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appearing Co-defendants to file a dispositive motion as to the Church Plan Exemption in

this case.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 20th of November of 2017.

       IT IS HEREBY CERTIFIED that on this same date a true and exact copy of the
foregoing was filed electronically with the Clerk of the Court via the CM/ECF system,
which will send notification of such filing to all attorneys of record.


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